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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Tamarac 10200, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  10200 N.W. 67th Street
                                  Tamarac, FL 33321
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Broward                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




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Debtor    Tamarac 10200, LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5311

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                           Chapter 7
                                           Chapter 9

     A debtor who is a “small              Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                         No
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Tamarac 10200, LLC                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal    Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes.       Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                 1-49                                           1,000-5,000                               25,001-50,000
                                 50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Tamarac 10200, LLC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 7, 2020
                                                  MM / DD / YYYY


                             X   /s/ Neil F. Luria                                                        Neil F. Luria
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X   /s/ Paul Steven Singerman                                                 Date December 7, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Paul Steven Singerman 378860
                                 Printed name

                                 Berger Singerman LLP
                                 Firm name

                                 1450 Brickell Avenue
                                 Suite 1900
                                 Miami, FL 33131
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305-755-9500                  Email address      singerman@bergersingerman.com

                                 378860 FL
                                 Bar number and State




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                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Tamarac 10200, LLC                                                                              Case No.
                                                                                  Debtor(s)                 Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Chief Restructuring Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




 Date:       December 7, 2020                                          /s/ Neil F. Luria
                                                                       Neil F. Luria/Chief Restructuring Officer
                                                                       Signer/Title




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            Florida Department of State
            Division of Corporations
            P.O. Box 6198
            Tallahassee, FL 32314


            Internal Revenue Service
            P.O. Box 21126
            Philadelphia, PA 19114


            International Supply Group Corp.
            1430 S. Dixie Highway, Ste. 321
            Coral Gables, FL 33146


            IRC Consulting, Inc.
            Attn: Charles Sweet, President
            1020 Holland Drive, Ste. 114
            Boca Raton, FL 33487


            IRS - Insolvency Unit
            7850 S.W. 6th Court
            Mail Stop 5730
            Plantation, FL 33324


            NHTV ULM Holding LLC
            c/o MS Capital Partners Adviser Inc.
            Attn: Frederik Wijsenbeek
            1585 Broadway
            New York, NY 10036


            Raimundo Jose Santamarta
            1500 Island Boulevard
            Aventura, FL 33160


            State of Florida/Department of Revenue
            Bankruptcy Section
            P.O. Box 6668
            Tallahassee, FL 32314-6668


            Unipharma, LLC
            10200 N.W. 67th Street
            Fort Lauderdale, FL 33321


            United States Trustee
            51 S.W. First Avenue, Ste. 1204
            Miami, FL 33130
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                                 OFFICER’S CERTIFICATE

        I, NEIL LURIA, hereby certify that I am the duly appointed, qualified and acting Chief
Restructuring Officer of Tamarac 10200, LLC, a Florida limited liability company (the
“Company”), and, as such, I am authorized to execute and deliver this Officer’s Certificate on behalf
of the Company, and do hereby certify that the attached hereto as Exhibit A is a true, correct and
complete copy of the written resolutions adopted by the Manager ofthe Company. Such resolutions
have not been revoked, modified, amended, or rescinded since their adoption, are in full force and
effect as of the date hereof, and are the only resolutions adopted by the Manager of the Company
with respect to the subject matter thereof.

       IN WITNESS WHEREOF, I have executed this Officer’s Certificate on this 6th               day
of December 2020.


                                               By:
                                                      Neil Lurm, Chief Restructuring Officer




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                                            EXHIBIT A

                                     WRITTEN CONSENT
                                  OF THE SOLE MANAGER
                                  OF TAMARAC 10200, LLC,
                                   IN LIEU OF A MEETING

        The undersigned, being the sole manager (the “Manager”) of Tamarac 10200, LLC, a Florida
limited liability company (the “Company”), does hereby waive all formal requirements, including
the necessity of holding a formal or informal meeting, and any requirements for notice; and does
hereby consent in writing to the adoption of the following unanimous resolutions, taking said actions
in lieu of a meeting of the Manager of the Company pursuant to the Florida Revised Limited
Liability Company Act and the First Amended and Restated Operating Agreement of the Company,
dated as of September 28, 2018, as amended (the “Operating Agreement”) (collectively, the “Written
Consent”). Any defined term used but not defined herein shall have the meaning ascribed to such
term in the Operating Agreement. These resolutions may be executed in more than one counterpart,
by pdf or facsimile, each of which shall be an original and all of which together shall be one and the
same instrument.

        WHEREAS, the Manager has waived any and all notice requirements in connection with the
resolutions unanimously adopted herein;

        WHEREAS, the Manager has reviewed and considered the operational condition of the
Company and the business of the Company on the date hereof, including the historical performance
of the Company, the assets of the Company, the current and long-term liabilities of the Company, the
liquidity of the Company, the strategic alternatives available to the Company, and the impact of the
foregoing on the business, creditors and other parties in interest of the Company;

         WHEREAS, the Manager has received, reviewed and considered the recommendations the
legal, financial and other advisors of the Company as to the relative risks and benefits of pursuing a
reorganization under chapter 11 of title 11 of the United States Code (11 U.S.C. §§ 101 et seq., the
“Bankruptcy Code”), and the Manager has had an opportunity to consult with the legal, financial and
other advisors of the Company and has fully considered each of the strategic alternatives available to
the Company;

        WHEREAS, the Manager has received, reviewed, and considered entering into a
commitment for debtor-in-possession financing for Unipharma, LLC (“Unipharma”) as guarantor on
or about December 6, 2020, for a senior secured debtor-in-possession financing credit facility in an
aggregate amount up to $15,600,000 (the “DIP Facility”), and the Manager has received and
reviewed the credit agreement documenting the DIP Facility (as amended, supplemented, restated, or
otherwise modified from time to time, the “DIP Credit Agreement”) with the lenders set forth
therein;

        WHEREAS, the Manager agrees that the Company will obtain benefits from the DIP
Facility and desires that the Company enter into that certain DIP Credit Agreement;



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       WHEREAS, in the business judgment of the Manager, it is in the best interests of the
Company, its creditors, employees, and other parties in interest that a petition be filed by the
Company seeking relief under the provisions of the Bankruptcy Code, in which the authority to
operate as debtors-in-possession will be sought;

        WHEREAS, the Manager desires that the Company files or causes to be filed a voluntary
petition (collectively, the “Petition”) for relief under chapter 11 of the Bankruptcy Code and the
following resolutions are adopted by the unanimous written consent of the Manager:

I.       Chapter 11 Case.

        IT IS THEREFORE RESOLVED, that in the business judgment of the Manager, it is
desirable and in the best interests of the Company and its equity owners, creditors, employees, and
other interested parties that a Petition be filed by the Company under the provisions of chapter 11 of
the Bankruptcy Code; and it is further

       RESOLVED, that the Manager shall and does hereby approve and ratify the
recommendation of the senior management of the Company to file a Petition on behalf of the
Company in the United States Bankruptcy Court for the Southern District of Florida (collectively,
the “Chapter 11 Case”); and it is further

        RESOLVED, that the Company shall be, and it hereby is, authorized, directed and
empowered (i) to file the Petition for the Company, (ii) to commence the Chapter 11 Case, and (iii)
to perform any and all such acts as are reasonable, advisable, expedient, convenient, proper and
necessary to effect any of the foregoing; and it is further

         RESOLVED, that the Manager hereby authorizes, directs and empowers any current or
future Chief Executive Officer, Chief Restructuring Officer, or Chief Financial Officer of the
Company (collectively, the “Authorized Officers”), and each of them, acting alone or in any
combination, on behalf of the Company to prepare, execute and/or verify and to cause to be filed,
and the Secretary, any Assistant Secretary or other applicable officer, be and each hereby is
authorized to attest to, any and all documents required by, necessary or appropriate to, the filing and
administration of the Chapter 11 Case, including but not limited to the Petition, as well as all other
ancillary documents (including, but not limited to, petitions, schedules, statements, lists, motions,
applications, DIP Credit Agreement(s), objections, responses, affidavits, declarations, complaints,
pleadings, disclosure statements, plans of reorganization or liquidation and other papers or
documents) necessary or desirable in connection with the foregoing, including but not limited to, any
amendments, modifications or supplements thereto (collectively, the “Chapter 11 Documents”); and
it is further

        RESOLVED, that any of the Authorized Officers, who may act without the joinder of any of
the other officer or manager of the Company, is hereby authorized to execute and deliver the Chapter
11 Documents in the name and on behalf of the Company and otherwise to take all actions
(including, without limitation, (i) negotiation, execution, delivery, and filing of any agreements,
certificates, or other instruments or documents, (ii) the payment of any retainer or consideration for


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any professional retained by the Company in the Chapter 11 Case, and (iii) the payment of expenses
and taxes as any such Authorized Officer may deem necessary, appropriate, or advisable (such acts
to be conclusive evidence that such Authorized Officer deemed the same to be necessary,
appropriate, or advisable) in order to commence and administer the Chapter 11 Case, and all acts of
the Authorized Officer taken pursuant to the authority granted herein, or having occurred prior to the
date hereof in order to effect such transactions, are hereby approved, adopted, ratified, and
confirmed in all respects; and it is further

II.      Retention of Professionals.

         RESOLVED, the Manager hereby approves and ratifies the employment by the Company of
the law firm of Berger Singerman LLP (“Berger Singerman”), to represent the Company as its
general bankruptcy counsel to represent and assist the Company in carrying out its duties under the
Bankruptcy Code and all related matters, and to take any and all actions to advance the Company’s
rights, including the preparation of pleadings and filings in the Chapter 11 Case; and in connection
therewith, the Authorized Officers (defined herein) be and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Chapter 11 Case, and to cause to be filed an appropriate
application for authority to retain the services of Berger Singerman;

        RESOLVED, the Manager hereby reapproves and reratifies the employment by the company
of SOLIC Capital Advisors, LLC and SOLIC Capital, LLC (collectively, “SOLIC”), to provide the
services of the Chief Restructuring Officer and certain other interim offices to represent the
Company pursuant to the retention agreement dated November 10, 2020, to provide the restructuring
services detailed therein to the Company; and in connection therewith, the Authorized Officers
(defined herein) be and each of them, acting alone or in any combination, hereby is, authorized,
directed and empowered, on behalf of and in the name of the Company to execute appropriate
retention agreements, pay appropriate retainers prior to and immediately upon the filing of the
Chapter 11 Case, and to cause to be filed an appropriate application for authority to retain the
services of SOLIC; and it is further

        RESOLVED, that the retention of Kurtzman Carson Consultants LLC pursuant to the
retention agreement dated November 23, 2020, and the execution of any retention agreements, the
payment of any retainers, and the approval of any matters related thereto, be and hereby are ratified,
adopted, and approved in all respects as the acts and deeds of the Company and the Authorized
Officers, and each of them hereby is, authorized and directed to immediately upon and after the
filing of the Chapter 11 Case execute and cause to be filed an application for authority to retain
Kurtzman Carson Consultants LLC as the Company's notice and claims agent; and it is further

        RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company to employ any other individual and/or firm as professionals or consultants or financial
advisors to the Company as are deemed necessary to represent and assist the Company in carrying
out its duties under the Bankruptcy Code, and in connection therewith, the Authorized Officers


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acting alone or in any combination, hereby is, authorized, directed and empowered, on behalf of and
in the name of the Company to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon the filing of the Chapter 11 Case, and to cause to be filed an
appropriate application for authority to retain the services of such firms.

III.     Debtor-in Possession Financing

         RESOLVED, that the Authorized Officers be, and hereby are, authorized, directed, and
empowered, on behalf of and in the name of the Company (A) to obtain post-petition financing
according to the terms negotiated, or to be negotiated, by the management of the Company,
including under debtor-in-possession credit facilities or relating to the use of cash collateral, and (B)
to secure the payment and performance of any post-petition financing by (i) pledging or granting
liens and mortgages on, or security interest in, all or any portion of the Company’s assets, including
all or any portion of the issued and outstanding capital stock, partnership interests, or membership
interests of any subsidiaries of the Company, whether now owned or hereafter acquired, and (ii)
entering into or causing to be entered into such security agreements, pledge agreements, control
agreements, intercreditor agreements, mortgages, deeds of trust and other agreements as are
necessary, appropriate, or desirable to effectuate the intent of, or matters reasonably contemplated or
implied by, this resolution in such form, covering such collateral and having such other terms and
conditions as are approved or deemed necessary, appropriate or desirable by the officer executing the
same, the execution thereof by such officer to be conclusive evidence of such approval or
determination; and it is further

        RESOLVED, that the form, terms, and provisions of the DIP Facility, the DIP Credit
Agreement, and each of the other DIP Facility Documents (as defined below), and the Company’s
incurrence and performance of its obligations under the DIP Facility, the DIP Credit Agreement, and
each of the other DIP Facility Documents (as defined below), including any borrowings thereunder,
granting of liens on, or security interests in, all or any portion of the Company’s assets as provided
therein, and the consummation of the transactions contemplated thereby, be, and hereby are, in all
respects authorized and approved; and further resolved, that each of the Authorized Officers be, and
hereby is, authorized and empowered to executed and deliver, and to cause the Company to incur
and perform its obligations under the DIP Facility and the DIP Credit Agreement and each of the
agreements, documents, and instruments contemplated by any of the foregoing or requested by the
DIP Facility lenders in connection with any of the DIP Facility (together with the DIP Credit
Agreement, the “DIP Facility Documents”), and each of the documents and instruments
contemplated thereby, in the name and on behalf of the Company under its seal or otherwise,
substantially in the forms presented to the Manager, with such changes therein and modifications and
amendments thereto as any Authorized Officer may in his or her sole discretion approve, which
approval shall be conclusively evidenced by his or her execution thereof; and it is further

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered to execute and deliver any amendments, amendment and restatements, supplements,
modifications, renewals, extensions, replacements, consolidations, substitutions, and extensions of
the DIP Facility and the DIP Facility Documents that shall in their sole judgment be necessary,
proper or advisable; and it is further


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         RESOLVED, that all acts and actions taken by the Authorized Officers prior to the date
hereof with respect to the transactions contemplated by the DIP Credit Agreement and any of the
other DIP Facility Documents be, and hereby are, in all respects confirmed, approved, and ratified;
and it is further

IV.      General Authorizations and Ratifications.

        RESOLVED, that the Authorized Officers be, and each of them acting alone or in any
combination is, hereby authorized, directed and empowered from time to time in the name and on
behalf of the Company, to (i) take such further actions and execute and deliver or cause to be
executed and delivered, where necessary or appropriate, file (or cause to be filed) with the
appropriate governmental authorities all such other certificates, instruments, guaranties, notices and
documents as may be required or as such Authorized Officer may deem necessary, advisable or
proper to carry out the intent and purpose of the foregoing resolutions, including the execution and
delivery of any security agreements, pledges, financing statements and the like, (ii) perform the
obligations of the Company under the Bankruptcy Code, the DIP Facility, the DIP Credit
Agreement, and the other DIP Facility Documents, with all such actions to be performed in such
manner, and all such certificates, instruments, guaranties, notices and documents to be executed and
delivered in such form, as the Authorized Officer performing or executing the same shall approve,
and the performance or execution thereof by such Authorized Officer shall be conclusive evidence of
the approval thereof by such officer and by the Company, and (iii) incur and pay such fees, expenses
and other amounts as in his, her or their judgment shall be necessary, proper or advisable in order to
fully carry out the intent and accomplish the purposes of each of the foregoing resolutions; and it is
further

        RESOLVED, that the Authorized Officers be, and each of them acting alone is, hereby
authorized, directed and empowered from time to time in the name and on behalf of the Company, to
adopt resolutions and otherwise exercise the rights and powers of the Company as such Authorized
Officer may deem necessary, appropriate or desirable; and that thereupon such resolutions shall be
deemed adopted as and for the resolutions of the Company; and it is further

       RESOLVED, that all of the acts and transactions relating to matters contemplated by the
foregoing resolutions, which acts would have been approved by the foregoing resolutions except that
such actions were taken prior to the execution of these resolutions, are hereby in all respects,
confirmed, ratified and approved; and it is further

        RESOLVED, that all acts lawfully done or actions lawfully taken by any director, officer or
equity holder of the Company or any of the professionals in connection with the reorganization or
liquidation of the Company or any matter related thereto, or by virtue of these resolutions be, and
they hereby are, in all respects, ratified, confirmed and approved; and it is further

        RESOLVED, that these resolutions and actions shall be the actions of the Manager, and the
Chief Executive Officer of the Company is hereby directed to place the Minutes of the Manager with
the records of the proceedings of the Manager; and it is further


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       RESOLVED, that the Chief Executive Officer of the Company is hereby authorized to join
the execution of, or attest and/or affix the corporate seal of the Company to any documents,
agreement or instrument executed by the Authorized Officers of the Company on behalf of the
Company in furtherance of the foregoing resolutions.

                                   Signatures on following page.




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             IN WITNESS WHEREOF, the undersigned, in his capacity    as the Manager   of Tamarac
10200, LLC, has executed and delivered this Written Consent for the purpose of giving his consent
hereto as of the date written below.


                                                    MANAGER



                                                                      (-'

                                                    Date:   December 6      2024




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                                 OFFICER’S CERTIFICATE

        I, NEIL LURIA, hereby certify that I am the duly appointed, qualified and acting Chief
Restructuring Officer of Tamarac 10200, LLC, a Florida limited liability company (the
“Company”), and, as such, 1 am authorized to execute and deliver this Officer’s Certificate on behalf
of the Company, and do hereby certify that the attached hereto as Exhibit A is a true, correct and
complete copy of the unanimous written resolutions adopted by the Members ofthe Company. Such
resolutions have not been revoked, modified, amended, or rescinded since their adoption, are in full
force and effect as of the date hereof, and are the only resolutions adopted by the Members of the
Company with respect to the subject matter thereof.

       IN WITNESS WHEREOF, I have executed this Officer’s Certificate on this 6th                 day
of December 2020.


                                               By:
                                                       Neil Luri^ff Chief Restructuring Officer




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                                            EXHIBIT A

                             UNANIMOUS WRITTEN CONSENT
                                   OF THE MEMBERS
                                OF TAMARAC 10200, LLC,
                                 IN LIEU OF A MEETING

        The undersigned, being all of the Members (the “Members”) of Tamarac 10200, LLC, a
Florida limited liability company (the “Company”), do hereby waive all formal requirements,
including the necessity of holding a formal or informal meeting, and any requirements for notice;
and do hereby consent in writing to the adoption of the following unanimous resolutions, taking said
actions in lieu of a meeting of the Members of the Company pursuant to the Florida Revised Limited
Liability Company Act and the First Amended and Restated Operating Agreement of the Company,
dated as of September 28, 2018, as amended (the “Operating Agreement”) (collectively, the “Written
Consent”). Any defined term used but not defined herein shall have the meaning ascribed to such
term in the Operating Agreement. These resolutions may be executed in more than one counterpart,
by pdf or facsimile, each of which shall be an original and all of which together shall be one and the
same instrument.

        WHEREAS, each Member has waived any and all notice requirements in connection with
the resolutions unanimously adopted herein;

        WHEREAS, each Member has reviewed and considered the operational condition of the
Company and the business of the Company on the date hereof, including the historical performance
of the Company, the assets of the Company, the current and long-term liabilities of the Company, the
liquidity of the Company, the strategic alternatives available to the Company, and the impact of the
foregoing on the business, creditors and other parties in interest of the Company;

         WHEREAS, the Members have received, reviewed and considered the recommendations the
legal, financial and other advisors of the Company as to the relative risks and benefits of pursuing a
reorganization under chapter 11 of title 11 of the United States Code (11 U.S.C. §§ 101 et seq., the
“Bankruptcy Code”), and the Members have had an opportunity to consult with the legal, financial
and other advisors of the Company and have fully considered each of the strategic alternatives
available to the Company;

        WHEREAS, the Members have received, reviewed, and considered entering into a
commitment for debtor-in-possession financing for Unipharma, LLC (“Unipharma”) as guarantor on
or about December 6, 2020, for a senior secured debtor-in-possession financing credit facility in an
aggregate amount up to $15,600,000 (the “DIP Facility”), and the Members have received and
reviewed the credit agreement documenting the DIP Facility (as amended, supplemented, restated, or
otherwise modified from time to time, the “DIP Credit Agreement”) with the lenders set forth
therein;

       WHEREAS, the Members agree that the Company will obtain benefits from the DIP Facility
and desire that the Company enter into that certain DIP Credit Agreement;



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       WHEREAS, in the business judgment of the Members, it is in the best interests of the
Company, its creditors, employees, and other parties in interest that a petition be filed by the
Company seeking relief under the provisions of the Bankruptcy Code, in which the authority to
operate as debtors-in-possession will be sought;

        WHEREAS, the Members desire that the Company files or causes to be filed a voluntary
petition (collectively, the “Petition”) for relief under chapter 11 of the Bankruptcy Code and the
following resolutions were adopted by the unanimous written consent of the Members:

I.       Chapter 11 Case.

        IT IS THEREFORE RESOLVED, that in the business judgment of the Members, it is
desirable and in the best interests of the Company and its equity owners, creditors, employees, and
other interested parties that a Petition be filed by the Company under the provisions of chapter 11 of
the Bankruptcy Code; and it is further

         RESOLVED, that the Members shall and do hereby approve and ratify the recommendation
of the senior management of the Company to file a Petition on behalf of the Company in the United
States Bankruptcy Court for the Southern District of Florida (collectively, the “Chapter 11 Case”);
and it is further

        RESOLVED, that the Company shall be, and it hereby is, authorized, directed and
empowered (i) to file the Petition for the Company, (ii) to commence the Chapter 11 Case, and (iii)
to perform any and all such acts as are reasonable, advisable, expedient, convenient, proper and
necessary to effect any of the foregoing; and it is further

         RESOLVED, that the Members hereby authorize, direct and empower any current or future
Chief Executive Officer, Chief Restructuring Officer, or Chief Financial Officer of the Company
(collectively, the “Authorized Officers”), and each of them, acting alone or in any combination, on
behalf of the Company to prepare, execute and/or verify and to cause to be filed, and the Secretary,
any Assistant Secretary or other applicable officer, be and each hereby is authorized to attest to, any
and all documents required by, necessary or appropriate to, the filing and administration of the
Chapter 11 Case, including but not limited to the Petition, as well as all other ancillary documents
(including, but not limited to, petitions, schedules, statements, lists, motions, applications, DIP
Credit Agreement(s), objections, responses, affidavits, declarations, complaints, pleadings,
disclosure statements, plans of reorganization or liquidation and other papers or documents)
necessary or desirable in connection with the foregoing, including but not limited to, any
amendments, modifications or supplements thereto (collectively, the “Chapter 11 Documents”); and
it is further

        RESOLVED, that any of the Authorized Officers, who may act without the joinder of any of
the other officer or manager of the Company, is hereby authorized to execute and deliver the Chapter
11 Documents in the name and on behalf of the Company and otherwise to take all actions
(including, without limitation, (i) negotiation, execution, delivery, and filing of any agreements,
certificates, or other instruments or documents, (ii) the payment of any retainer or consideration for


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any professional retained by the Company in the Chapter 11 Case, and (iii) the payment of expenses
and taxes as any such Authorized Officer may deem necessary, appropriate, or advisable (such acts
to be conclusive evidence that such Authorized Officer deemed the same to be necessary,
appropriate, or advisable) in order to commence and administer the Chapter 11 Case, and all acts of
the Authorized Officer taken pursuant to the authority granted herein, or having occurred prior to the
date hereof in order to effect such transactions, are hereby approved, adopted, ratified, and
confirmed in all respects; and it is further

II.      Retention of Professionals.

         RESOLVED, each Member hereby approves and ratifies the employment by the Company
of the law firm of Berger Singerman LLP (“Berger Singerman”), to represent the Company as its
general bankruptcy counsel to represent and assist the Company in carrying out its duties under the
Bankruptcy Code and all related matters, and to take any and all actions to advance the Company’s
rights, including the preparation of pleadings and filings in the Chapter 11 Case; and in connection
therewith, the Authorized Officers (defined herein) be and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Chapter 11 Case, and to cause to be filed an appropriate
application for authority to retain the services of Berger Singerman;

        RESOLVED, each Member hereby reapproves and reratifies the employment by the
company of SOLIC Capital Advisors, LLC and SOLIC Capital, LLC (collectively, “SOLIC”), to
provide the services of the Chief Restructuring Officer and certain other interim offices to represent
the Company pursuant to the retention agreement dated November 10, 2020, to provide the
restructuring services detailed therein to the Company; and in connection therewith, the Authorized
Officers (defined herein) be and each of them, acting alone or in any combination, hereby is,
authorized, directed and empowered, on behalf of and in the name of the Company to execute
appropriate retention agreements, pay appropriate retainers prior to and immediately upon the filing
of the Chapter 11 Case, and to cause to be filed an appropriate application for authority to retain the
services of SOLIC; and it is further

        RESOLVED, that the retention of Kurtzman Carson Consultants LLC pursuant to the
retention agreement dated November 23, 2020, and the execution of any retention agreements, the
payment of any retainers, and the approval of any matters related thereto, be and hereby are ratified,
adopted, and approved in all respects as the acts and deeds of the Company and the Authorized
Officers, and each of them hereby is, authorized and directed to immediately upon and after the
filing of the Chapter 11 Case execute and cause to be filed an application for authority to retain
Kurtzman Carson Consultants LLC as the Company's notice and claims agent; and it is further

        RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company to employ any other individual and/or firm as professionals or consultants or financial
advisors to the Company as are deemed necessary to represent and assist the Company in carrying
out its duties under the Bankruptcy Code, and in connection therewith, the Authorized Officers


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acting alone or in any combination, hereby is, authorized, directed and empowered, on behalf of and
in the name of the Company to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon the filing of the Chapter 11 Case, and to cause to be filed an
appropriate application for authority to retain the services of such firms.

III.     Debtor-in Possession Financing

         RESOLVED, that the Authorized Officers be, and hereby are, authorized, directed, and
empowered, on behalf of and in the name of the Company (A) to obtain post-petition financing
according to the terms negotiated, or to be negotiated, by the management of the Company,
including under debtor-in-possession credit facilities or relating to the use of cash collateral, and (B)
to secure the payment and performance of any post-petition financing by (i) pledging or granting
liens and mortgages on, or security interest in, all or any portion of the Company’s assets, including
all or any portion of the issued and outstanding capital stock, partnership interests, or membership
interests of any subsidiaries of the Company, whether now owned or hereafter acquired, and (ii)
entering into or causing to be entered into such security agreements, pledge agreements, control
agreements, intercreditor agreements, mortgages, deeds of trust and other agreements as are
necessary, appropriate, or desirable to effectuate the intent of, or matters reasonably contemplated or
implied by, this resolution in such form, covering such collateral and having such other terms and
conditions as are approved or deemed necessary, appropriate or desirable by the officer executing the
same, the execution thereof by such officer to be conclusive evidence of such approval or
determination; and it is further

        RESOLVED, that the form, terms, and provisions of the DIP Facility, the DIP Credit
Agreement, and each of the other DIP Facility Documents (as defined below), and the Company’s
incurrence and performance of its obligations under the DIP Facility, the DIP Credit Agreement, and
each of the other DIP Facility Documents (as defined below), including any borrowings thereunder,
granting of liens on, or security interests in, all or any portion of the Company’s assets as provided
therein, and the consummation of the transactions contemplated thereby, be, and hereby are, in all
respects authorized and approved; and further resolved, that each of the Authorized Officers be, and
hereby is, authorized and empowered to executed and deliver, and to cause the Company to incur
and perform its obligations under the DIP Facility and the DIP Credit Agreement and each of the
agreements, documents, and instruments contemplated by any of the foregoing or requested by the
DIP Facility lenders in connection with any of the DIP Facility (together with the DIP Credit
Agreement, the “DIP Facility Documents”), and each of the documents and instruments
contemplated thereby, in the name and on behalf of the Company under its seal or otherwise,
substantially in the forms presented to the Members, with such changes therein and modifications
and amendments thereto as any Authorized Officer may in his or her sole discretion approve, which
approval shall be conclusively evidenced by his or her execution thereof; and it is further

       RESOLVED, that each of the Authorized Officers be, and hereby is, authorized and
empowered to execute and deliver any amendments, amendment and restatements, supplements,
modifications, renewals, extensions, replacements, consolidations, substitutions, and extensions of
the DIP Facility and the DIP Facility Documents that shall in their sole judgment be necessary,
proper or advisable; and it is further


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         RESOLVED, that all acts and actions taken by the Authorized Officers prior to the date
hereof with respect to the transactions contemplated by the DIP Credit Agreement and any of the
other DIP Facility Documents be, and hereby are, in all respects confirmed, approved, and ratified;
and it is further

IV.      General Authorizations and Ratifications.

        RESOLVED, that the Authorized Officers be, and each of them acting alone or in any
combination is, hereby authorized, directed and empowered from time to time in the name and on
behalf of the Company, to (i) take such further actions and execute and deliver or cause to be
executed and delivered, where necessary or appropriate, file (or cause to be filed) with the
appropriate governmental authorities all such other certificates, instruments, guaranties, notices and
documents as may be required or as such Authorized Officer may deem necessary, advisable or
proper to carry out the intent and purpose of the foregoing resolutions, including the execution and
delivery of any security agreements, pledges, financing statements and the like, (ii) perform the
obligations of the Company under the Bankruptcy Code, the DIP Facility, the DIP Credit
Agreement, and the other DIP Facility Documents, with all such actions to be performed in such
manner, and all such certificates, instruments, guaranties, notices and documents to be executed and
delivered in such form, as the Authorized Officer performing or executing the same shall approve,
and the performance or execution thereof by such Authorized Officer shall be conclusive evidence of
the approval thereof by such officer and by the Company, and (iii) incur and pay such fees, expenses
and other amounts as in his, her or their judgment shall be necessary, proper or advisable in order to
fully carry out the intent and accomplish the purposes of each of the foregoing resolutions; and it is
further

        RESOLVED, that the Authorized Officers be, and each of them acting alone is, hereby
authorized, directed and empowered from time to time in the name and on behalf of the Company, to
adopt resolutions and otherwise exercise the rights and powers of the Company as such Authorized
Officer may deem necessary, appropriate or desirable; and that thereupon such resolutions shall be
deemed adopted as and for the resolutions of the Company; and it is further

       RESOLVED, that all of the acts and transactions relating to matters contemplated by the
foregoing resolutions, which acts would have been approved by the foregoing resolutions except that
such actions were taken prior to the execution of these resolutions, are hereby in all respects,
confirmed, ratified and approved; and it is further

        RESOLVED, that all acts lawfully done or actions lawfully taken by any director, officer or
equity holder of the Company or any of the professionals in connection with the reorganization or
liquidation of the Company or any matter related thereto, or by virtue of these resolutions be, and
they hereby are, in all respects, ratified, confirmed and approved; and it is further

       RESOLVED, that these resolutions and actions shall be the actions of the Members, and the
Chief Executive Officer of the Company is hereby directed to place the Minutes of the Members
with the records of the proceedings of the Members; and it is further


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       RESOLVED, that the Chief Executive Officer of the Company is hereby authorized to join
the execution of, or attest and/or affix the corporate seal of the Company to any documents,
agreement or instrument executed by the Authorized Officers of the Company on behalf of the
Company in furtherance of the foregoing resolutions.

                                   Signatures on following page.




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        IN WITNESS WHEREOF, the undersigned, in their capacity as all of the Members
Tamarac 10200, LLC, have executed and delivered this Written Consent for the purpose of giving
their consent hereto as of the date written below.


                                                  MEMBERS


                                                  NHTV ULM HOLDINGS LLC
                                                  (acting on behalf of Raimundo J.
                                                  Santamarta by means of proxy)

                                                  By: North Haven Tactical Value Fund LP,
                                                  its member

                                                  By: MS Tactical Value Fund GP LP,
                                                  its general partner

                                                  By: MS Tactical Value Fund GP Inc.,
                                                  its general partner

                                                  By:_________________________________
                                                        Name: Frederik Wijsenbeek
                                                        Title: Executive Director
                                                  Date: December 6 , 2020


                                                  NHTV ULM HOLDINGS LLC
                                                  (acting on behalf of International Supply
                                                  Group Corp. by means of proxy)

                                                  By: North Haven Tactical Value Fund LP,
                                                  its member

                                                  By: MS Tactical Value Fund GP LP,
                                                  its general partner

                                                  By: MS Tactical Value Fund GP Inc.,
                                                  its general partner

                                                  By:_________________________________
                                                        Name: Frederik Wijsenbeek
                                                        Title: Executive Director
                                                  Date: December 6 , 2020




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